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                    United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 18-5298                                                       September Term, 2019
                                                                  FILED ON: JANUARY 24, 2020

WOODHULL FREEDOM FOUNDATION, ET AL.,
                APPELLANTS

v.

UNITED STATES OF AMERICA AND WILLIAM P. BARR, IN HIS OFFICIAL CAPACITY AS ATTORNEY
GENERAL OF THE UNITED STATES,
                   APPELLEES


                            Appeal from the United States District Court
                                    for the District of Columbia
                                        (No. 1:18-cv-01552)


       Before: ROGERS, GRIFFITH and KATSAS, Circuit Judges

                                         JUDGMENT

        This cause came on to be heard on the order on appeal from the United States District Court
for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the order of the District Court appealed from in this
cause dismissing the complaint for lack of subject-matter jurisdiction be reversed, and the case be
remanded to the District Court for further proceedings, in accordance with the opinion of the court
filed herein this date.

                                            Per Curiam



                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                    BY:     /s/

                                                            Daniel J. Reidy
                                                            Deputy Clerk


Date: January 24, 2020

Opinion for the court filed by Circuit Judge Rogers.
Opinion concurring in part and concurring in the judgment filed by Circuit Judge Katsas.
